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AO 247 (Rev. 03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                        Central District
                                                      __________         of of
                                                                  District  California
                                                                               __________

                    United States of America
                               v.                                           )
                    Christopher Paul George                                 )
                                                                            )   Case No: ED CR 12-65(B)-VAP, ED CV 21-1705-VAP
                                                                            )   USM No: 63608-112
Date of Original Judgment:                            02/03/2016            )
Date of Previous Amended Judgment:                    08/09/2018            )   Ezekiel E. Cortez
(Use Date of Last Amended Judgment if Any)                                       Defendant’s Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   235                     months is reduced to 210 months                           .
                             (See Page 2 for additional parts. Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                                                  shall remain in effect.
IT IS SO ORDERED.

Order Date:
                                                                                                         Judge’s signature


Effective Date:
                     (if different from order date)                                                    Printed name and title
         Case 5:21-cv-01705-VAP Document 15-1 Filed 01/31/24 Page 2 of 2 Page ID #:185

AO 247 (Rev. 03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)   Page 2 of 2 (Page 2 Not for Public Disclosure)

                      This page contains information that should not be filed in court unless under seal.
                                                (Not for Public Disclosure)


                                          Christopher Paul George
DEFENDANT:
CASE NUMBER: ED CR 12-65(B)-VAP, ED CV 21-1705-VAP
DISTRICT:    Central District of California


I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Total Offense Level: 35                      Amended Total Offense Level: 35
Criminal History Category:    II (3 points)           Criminal History Category:   I (1 point)
Previous Guideline Range:     188       to 235 months Amended Guideline Range:     168      to 210                                              months

II. SENTENCE RELATIVE TO THE AMENDED GUIDELINE RANGE
  ✔
  u The reduced sentence is within the amended guideline range.
  u The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
    time of sentencing as a result of a substantial assistance departure or Rule 35 reduction, and the reduced sentence
    is comparably less than the amended guideline range.
  u The reduced sentence is above the amended guideline range.

III. FACTORS CONSIDERED UNDER USSG § 1B1.10 AND 18 U.S.C. § 3553(a) (See Chavez-Meza v. United
     States, 138 S.Ct. 1959 (2018))
